          Case 1:11-cr-00374-DAD Document 36 Filed 08/02/12 Page 1 of 3


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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   1:11-CR-00374-LJO
                                             )
12              Plaintiff,                   )   FINAL ORDER OF FORFEITURE
                                             )
13        v.                                 )
                                             )
14   ISIDRO FREDIS HERNANDEZ,                )
                                             )
15              Defendant.                   )
                                             )
16                                           )
17        WHEREAS, on May 2, 2012, this Court entered a Preliminary Order
18   of Forfeiture pursuant to the provisions of 18 U.S.C. §§
19   981(a)(1)(C), 982(a)(6)and 28 U.S.C. § 2461, based upon the plea
20   agreement entered into between plaintiff and defendant Isidro Fredis
21   Hernandez forfeiting to the United States the following property:
22             a.     HP Pavilion Laptop Computer;
23             b.     HP Mini Laptop 210;
24             c.     HP Photo Smart Printer;
25             d.     HP Photosmart Plus Printer;
26             e.     Cannon Image Class Photo Printer;
27             f.     Compaq Presario Desktop Computer;
28             g.     Compaq Presario Mid-tower;



                                         1                     FINAL ORDER OF FORFEITURE
          Case 1:11-cr-00374-DAD Document 36 Filed 08/02/12 Page 2 of 3


 1             h.    Attache 1GB Thumbdrive;
 2             i.    Ativa Thumbdrive;
 3             j.    SanDisk 4 GB Memory Card;
 4             k.    SanDisk 2GB thumbdrive;
 5             l.    SanDisk 32MB Memory Card;
 6             m.    SanDisk 256 MB Memory Card;
 7             n.    SanDisk 2GB Mini SD Memory Card;
 8             o.    SanDisk 2GB Cruzer Thumbdrive.
 9             p.    SanDisk 128MB SD Memory Card;
10             q.    SanDisk 2GB Micro SD Memory Card
11             r.    Samsung Computer Monitor
12             s.    1 Multiple Drive DVD Duplicator;
13             t.    Sony VIAO Laptop Computer;
14             u.    Sony 4GB SD HC Memory Card;
15             v.    Micro SD 2GB Memory Card;
16             w.    Black and Silver Thumbdrive;
17             x.    1 GB Data Traveler Thumbdrive;
18             y.    GBS Creative Laminator;
19             z.    Fargo Pro LX ID Card Printer/Laminator;
20             aa.   2 Bags Containing Card Making Supplies;
21             bb.   2 Paper Cutters; and
22             cc.   Approximately $8,572.00 in United States
                     Currency.
23
24        AND WHEREAS, beginning on May 10, 2012, for at least 30
25   consecutive days, the United States published notice of the Court’s
26   Order of Forfeiture on the official internet government forfeiture
27   site www.forfeiture.gov. Said published notice advised all third
28   parties of their right to petition the Court within sixty (60) days



                                         2                     FINAL ORDER OF FORFEITURE
              Case 1:11-cr-00374-DAD Document 36 Filed 08/02/12 Page 3 of 3


 1   from the first day of publication for a hearing to adjudicate the
 2   validity of their alleged legal interest in the forfeited property;
 3            AND WHEREAS, the Court has been advised that no third party has
 4   filed a claim to the subject property and the time for any person or
 5   entity to file a claim has expired.
 6            Accordingly, it is hereby ORDERED and ADJUDGED:
 7            1.      A Final Order of Forfeiture shall be entered forfeiting to
 8   the United States of America all right, title, and interest in the
 9   above-listed property pursuant to 18 U.S.C. §§ 981(a)(1)(C),
10   982(a)(6)and 28 U.S.C. § 2461, to be disposed of according to law,
11   including all right, title, and interest of Isidro Fredis Hernandez.
12            2.      All right, title, and interest in the above-listed property
13   shall vest solely in the name of the United States of America.
14            3.      The Department of Homeland Security, Immigration Customs
15   Enforcement or Customs and Border Protection, shall maintain custody
16   of and control over the subject property until it is disposed of
17   according to law.
18
19   IT IS SO ORDERED.
20   Dated:        August 2, 2012            /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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                                             3                     FINAL ORDER OF FORFEITURE
